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     Days Law Firm
 2   2300 Tulare Street, Suite 240
     Fresno, CA. 93721
 3   Telephone: (559) 708-4844

 4   Attorney for Defendant
     DARRELL MAXEY
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 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                  ) Case No. 1:16-CR-0069 LJO-SKO
                                                 )
11                          Plaintiff,           ) STIPULATION RE PROTECTIVE
                                                 ) ORDER; ORDER
12    vs.                                        )
                                                 )
13    DARRELL MAXEY,                             )
                                                 )
14                          Defendant.           )
                                                 )
15                                               )

16          IT IS HEREBY STIPULATED by and between the parties, through their respective
17   counsel, Assistant United States Attorney, Kimberly A. Sanchez, Counsel for Plaintiff, and,

18   Marc Days, Counsel for Defendant, Darrell Maxey, that Counsel for Defendant Maxey may

19   disclose specific portions of discovery to Keith McCray for purposes of obtaining a waiver of

20   any potential conflict of interest. The specific portions of discovery are located at Bates 70:10-

21   72:20 and 75:1-76:25. Defense counsel will not provide a copy of the specific portions of

22   discovery (Bates 70:10-72:20 and 75:1-76:25) to Keith McCray or disclose information that

23   identifies witnesses making statements within the specific portions of discovery.

24          IT IS SO STIPULATED.

25                                                         Respectfully submitted,

26                                                         PHILLIP A. TALBERT
                                                           United States Attorey
27
     Dated: June 5, 2017                                   /s/ Kim Sanchez
28                                                         KIM SANCHEZ
                                                           Assistant United States Attorney
                                                           Attorney for Plaintiff
     Case 1:16-cr-00069-JLT-SKO Document 383 Filed 06/06/17 Page 2 of 2


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 2
 3
     Dated: June 5, 2017                             /s/ Marc Days
 4                                                   MARC DAYS
                                                     Attorneys for Defendant
 5                                                   Darrell Maxey
 6
 7
 8
 9                                            ORDER

10
     IT IS SO ORDERED.
11
12        Dated:        June 5, 2017                  /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
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     Eche
      Maxey/Stipulation Re Protective Order    -2-
      Case # 16-cr-0069 LJO-SKO
